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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

  CLARA FINCH CRUZ, M.D.,                       )
                                                )
         Plaintiff,                             )
                                                )       Case No. 2:18-cv-2483-JPM-tmp
  v.                                            )
                                                )
  ROBERT WILKIE, ACTING                         )
  SECRETARY, U.S. DEPARTMENT OF                 )
  VETERANS AFFAIRS,                             )
                                                )
         Defendant.                             )



                ORDER OF REFERENCE FOR DETERMINATION
______________________________________________________________________________

       Before the Court is Plaintiff Clara Finch Cruz’s Motion to Compel and Request for Status

Conference Regarding Plaintiff’s Motion to Compel filed March 12, 2019. (ECF No. 31.) The

Motion to Compel and any related discovery motions are referred to the United States Magistrate

Judge for determination.

       IT IS SO ORDERED, this 14th day of March, 2019.
                                                 /s/ Jon P. McCalla
                                              JON P. McCALLA
                                              UNITED STATES DISTRICT JUDGE




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